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AO 106 (Rev. 04/10) Application for a Search Warrant oh re; ta | A bs M0

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

cmera Le (Aeon 6E|

 

In the Matter of the Search of

(Briefly describe the property to ad ao
asa two-story E Aine deetr bed aS ann color vinyl
siding over brick in the rear of the building. The front is tan
siding with brown squares with white trim. The numbers 2217
are on the rear fence of the apartment building in brown color

d the curtil thereof.
Ree eee e ine EPPLICATION FOR A SEARCH WARRANT

Saaremaa! See! See”

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A (incorporated by reference)

located in the Southern District of Ohio . there is now concealed (identify the
person or describe the property to be seized):

See Attachment B (incorporated by reference)

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
© evidence of a crime;
ow contraband, fruits of crime, or other items illegally possessed;
Mf property designed for use, intended for use, or used in committing a crime;
CO) a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:
Code Section Offense Description
21 U.S.C, 841(a)(1) Possession with Intent to Distribute a Controlled Substance

The application is based on these facts:

See attached Affidavit (incorporated by reference)

om Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached het. /”]

Cs
SO r
: ——pphedint's signature
Jacob Smith, DEA TFO
Printed name and litle

    
      

 

 

Sworn to before me and signed in my presence.

Date: 2) / g

ludgd 's signature
City and state: Columbus, Ohio Norah McCann United States Magistrate Judge
| Printed name and title

 
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ATTACHMENT A

DESCRIPTION OF PROPERTY TO BE SEARCHED

2217 Noe Bixby Road, Columbus, Ohio, 43232 is described as a two-story apartment,
tan in color with vinyl siding over brick in the rear of the building. The front of the
structure is described as tan siding with brown square outlined designs on the front of the
building with white trim around the windows. The numbers "2217" are affixed
horizontally in dark numbering against the brown fence which is located in the rear of the
residence. The front door is white in color with a glass and barred exterior storm door.
The front door of the residence is one door north of 2219 Noe Bixby Road. There are no

visible numbers identifying the address on the front of the residence.

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ATTACHMENT B

DESCRIPTION OF [TEMS TO BE SEIZED

The evidence to be searched for and seized is:

A.

B.

Methamphetamine and any other controlled substances;

Documents and other items tending to show dominion and control over the
premises/vehicle, including, but not limited to, bills or other business-
related documents, correspondence, photographs;

Documents or other items tending to identify co-conspirators and sources,
including, but not limited to, letters, notes, memoranda, photographs,
address and phone books, maps, organizers, or lists of names;

items commonly used to facilitate drug trafficking, including but not
limited to items such as firearms, ammunition, , cellular telephones,
pay/owe sheets, packaging materials, “cut”, scales, and grinders;

Likely proceeds of drug trafficking, such as United States currency and
other negotiable instruments; and

Documents and other items tending to establish or hide the whereabouts of

proceeds from drug trafficking, such as safes, keys to other locations, and
financial records.

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AFFIDAVIT
Your Affiant, Jacob Smith, being duly sworn, do hereby depose and state as follows:
I,

INTRODUCTION

1. I am currently employed as a Deputy for the Franklin County Sheriff's Office,
currently assigned full-time as a Task Force Officer with the Drug Enforcement
Administration (DEA) Columbus District Office. As such, I am an “investigative
or law enforcement officer” of the United States within the meaning of Title 18,
United States Code (U.S.C.) § 2510(7), that is, an officer of the United States
empowered by law to conduct criminal investigations and make arrests for
offenses enumerated in Title 18, U.S.C.§ 2516. Your affiant is empowered to
investigate, to make arrests with or without warrants and to execute search
warrants under the authority of Title 21 U.S.C. § 878 and the Ohio Revised Code.
Since 2013, Your affiant has been employed with the Franklin County Sheriff's
Office. Prior to that employment, Your affiant was employed with multiple law
enforcement agencies within the State of Ohio for approximately three years.
Those law enforcement agencies include the Village of Obetz Police Department
as a full-time Officer, Sharon Township Police Department as a part-time Officer
and the Westerville Police Department as a reserve Officer.

2 Prior to being assigned to the DEA Task Force in February 2019, Your affiant
was a Detective with the Franklin County Sheriff's Office (FCSO), Special
Investigations Unit and had been assigned to that unit since July 2014. Your
affiant, while assigned to the Special Investigations Unit, has conducted or
participated in numerous state and federal narcotics investigations concerning the
possession and distribution of controlled substances. Your affiant was also
assigned to the FCSO Heroin Overdose Prevention and Education (H.O.P.E) Task
Force where I conducted numerous criminal investigations pertaining to fatal and
non-fatal overdoses, these investigations resulted in convictions in Franklin
County Common Pleas Court and United States District Court, Southern District
of Ohio.

3. As a DEA Task Force Officer, I have participated in numerous investigations
which have resulted in the successful prosecution of individuals and organizations
involved in trafficking heroin, cocaine, cocaine base (“crack”), marijuana,
methamphetamine and other controlled substances. Through the course of these
investigations, I have personally interviewed confidential sources and other
persons involved in the distribution of illegal narcotics. I have also interviewed
persons arrested for the distribution of illegal narcotics. I have spoken with more
experienced narcotics investigators with whom I have worked concerning the
practices of narcotics traffickers and the best investigative methods to use when
conducting investigations of narcotics trafficking organizations. Through the
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course of my investigations and through my conversations with more experienced
narcotics investigators, I have become familiar with the methods and means
utilized by persons who participate in the illegal distribution of controlled
substances

Il.
PURPOSE OF AFFIDAVIT

4, This Affidavit is made in support of an Application under Rule 41 of the Federal
Rules of Criminal Procedure for a search warrant for:

a. the residential property located at 2217 Noe Bixby Road, Columbus,
Ohio, 43232 (hereafter referred to as the TARGET LOCATION). This
premises is more fully described in Attachment A incorporated herein by
reference.

b. 2015 Black Chrysler 300 (hereafter referred to as the TARGET
VEHICLE). This vehicle is more fully described in Attachment A
incorporated herein by reference.

5. Based upon the information below, I have probable cause to believe that inside
the TARGET LOCATION and TARGET VEHICLE described in the previous
paragraph, there is property that constitutes evidence of the commission of a
criminal offense; contraband, the fruits of crime, and things otherwise criminally
possessed; and property designed or intended for use or which is or has been used
as a means of committing a criminal offense. Specifically, I have probable cause
to believe that within the above mentioned property there is evidence of violations
of Title 21, United States Code (U.S.C.) § 846, Conspiracy to Possess with Intent
to Distribute and Distribute a Controlled Substance (Methamphetamine) and Title
21, U.S.C. § 841(a)(1), Possession with Intent to Distribute and Distribution of a
Controlled Substance. Based on my training and experience, as described above, I
believe that there is probable cause to believe that the items listed in Attachment
B (incorporated herein by reference) will be found at the TARGET LOCATION
and TARGET VEHICLE described in Attachment A.

6. The information contained in this Affidavit is largely based upon investigations
conducted by Your Affiant and other law enforcement officers. All of the details
of the investigation are not included in this Affidavit, only information necessary
to establish probable cause that evidence associated with drug trafficking offenses
is located at/in the TARGET LOCATION and TARGET VEHICLE. Unless
specifically quoted, the conversations described below are set forth in substance.
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FACTS SUPPORTING PROBABLE CAUSE

On March 28, 2019, at approximately 10:30 p.m., DEA (Columbus) TFO Bryan
Mason was contacted by Columbus Division of Police (CPD) regarding a traffic
stop involving Cameron VANSICKLE. According to CPD Officers, they had
initiated a traffic stop on a vehicle being operated by VANSICKLE for a traffic
violation in the Columbus area. During the traffic stop, it was discovered
VANSICKLE was operating the motor vehicle with a suspended driver’s license.
During an Administrative Inventory of the vehicle, officers recovered
approximately 100 grams of suspected methamphetamine from the passenger
glove box. VANSICKLE was transported to the DEA Columbus District Office to
be interviewed by investigators.

Upon arriving at the DEA office, DEA TFO Ashenhurst. verbally advised
VANSICKLE of his Miranda rights. VANSICKLE acknowledged his
understanding of his rights and voluntarily agreed to speak with investigators.
During the interview, Your Affiant and TFO Ashenhurst questioned
VANSICKLE about the suspected methamphetamine found inside the vehicle.
VANSICKLE stated, in substance, that he had purchased the methamphetamine
for $1050. VANSICKLE stated he provided $100 of his own money toward the
total purchase amount of $1050. VANSICKLE also stated K.R. had provided an
unknown portion of money toward the total as well. VANSICKLE explained the
total amount ($1,050) used to purchase the methamphetamine came from multiple
individuals to include himself and K.R. During the interview, VANSICKLE
admitted he organized the narcotics transaction for the methamphetamine,
collecting money from multiple individuals in order to obtain a larger amount of
methamphetamine, which allowed VANSICKLE to purchase the
methamphetamine at a better price point.

VANSICKLE further informed investigators that he met with an individual he
knows as “Juice” to purchase the methamphetamine which was found by CPD
Officers during the inventory of the vehicle. VANSICKLE provided investigators
with telephone number 614-679-4009 which he stated is utilized by “Juice.”
Upon reviewing toll records, investigators were able to corroborate and confirm
telephone communication between VANSICKLE’s phone and 614-679-4009 on
March 28, 2019 prior to the initiation of the traffic stop involving VANSICKLE.

The suspected methamphetamine was submitted to the DEA North Central
Laboratory for chemical analysis. On July 26, 2019, TFO Mason received
laboratory results confirming the suspected methamphetamine tested positive for
d-Methamphetamine Hydrochloride with net weight of 97.3 grams and a
substance purity of 100%.
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In May 28, 2019, DEA (Columbus) investigators learned that a law enforcement
officer acting in an undercover capacity purchased approximately twenty-eight
(28) grams of suspected methamphetamine from a known individual in the
Columbus, Ohio area. During the transaction, the known individual contacted a
male, later identified by the undercover officer utilizing a law enforcement
database. The male was identified for purposes of this affidavit as “R.L.”

During the narcotics transaction, while in the presence of the undercover officer,
R.L. met with an individual (later identified by the undercover officer as Robert
DAVIS) at the Pelican bar located at 5512 E. Livingston Avenue in: Columbus,
Ohio. During the meet, R.L., who was in the front passenger seat of the
undercover officer’s vehicle, provided DAVIS with $400 in United States
currency. The $400 was previously provided to R.L. by the undercover officer in
order to purchase the suspected methamphetamine. Upon R.L. providing DAVIS
with the currency, DAVIS handed R.L. two clear plastic bags containing a hard,
white rock like substance, believed to be methamphetamine. At this time, R.L.
provided the undercover officer with only one (1) of the bags containing the
suspected methamphetamine to complete the transaction. The remaining bag
provided to R.L. by DAVIS was believed to remain in the possession of R.L.

Your affiant knows, through training and experience, it is common for individuals
to utilize a third party to contact the source of supply for narcotics. Your affiant
knows, those third party individuals act as “brokers” which allow the purchaser of
the narcotics to obtain the narcotics from the source of supply which only the
broker has contact with. The “broker” will commonly obtain payment, whether
monetary or other forms of payment for connecting the purchaser and source of
supply to complete the narcotics transaction.

On May 31, 2019, the Honorable Franklin County Common Pleas Judge Karen
Phipps authorized a search warrant for the geo-location of the cellular phone
associated with 614-679-4009, known to be utilized by Robert DAVIS also
known as “Juice.” During the course of subsequent physical surveillance
combined with geo-location data transmitting from telephone number 614-679-
4009, DAVIS was confirmed to be the primary possessor and user of the cellular
phone associated with 614-679-4009.

On June 5, 2019, the Honorable Franklin County Municipal Court Duty Judge
authorized a search warrant for the installation of a Global Position System (GPS)
device for a black 2015 Chrysler 300 (TARGET VEHICLE) known to be
operated by DAVIS. DAVIS is also the registered owner of this vehicle. During
the duration of monitoring, investigators have observed DAVIS’ Chrysler staying
consistently overnight at or in the area of the apartmént building which houses
2217 Noe Bixby (TARGET LOCATION). |

On June 13, 2019, investigators conducted surveillance on DAVIS. During
surveillance, DAVIS’ vehicle was located parked in the rear of the apartment
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building which houses 2217 Noe Bixby Road in Columbus, Ohio. During
surveillance, DAVIS and an unidentified black male were observed leaving the
apartment complex in the Chrysler 300. Upon leaving, investigators followed
DAVIS to a United Dairy Farmers (UDF) parking lot located at 2660 Noe Bixby
Road in Columbus, Ohio. While at the UDF, DAVIS was observed meeting with
an individual, identified for purposes of this affidavit as Source of Information 1
(SOIJ-1). During their interaction, DAVIS was. observed opening the rear driver’s
side door of SOI-1’s vehicle and briefly leaning in. Once this was observed SOI-1
and DAVIS left the UDF parking lot in separate vehicles shortly after.

On June 15, 2019, DEA officers conducted surveillance on DAVIS. During
surveillance, DAVIS was observed operating the TARGET VEHICLE. While
on surveillance, DAVIS was observed entering and exiting the front door of an
apartment, later identified as 2217 Noe Bixby Road in Columbus, Ohio
(TARGET LOCATION). During this surveillance DAVIS was observed
leaving the apartment, driving to the UDF located at 2660 Noe-Bixby Road in
Columbus, Ohio and meeting with multiple individuals to include R.L. The
following describes the observations made during surveillance of DAVIS on July
15, 2019:

a. At approximately 1:56 p.m., investigators observed DAVIS leave the
apartment complex located in the area of 2217 Noe Bixby Road. Upon
leaving the complex, DAVIS was observed arriving in the UDF parking
lot. Shortly after arriving, investigators observed R.L. as a passenger in a
white Fiat in the parking lot of UDF. At this time, R.L. exited the Fiat,
walked to DAVIS’ vehicle and entered the rear of DAVIS’ Chrysler 300
(TARGET VEHICLE). After a brief amount of time, R.L. exited
DAVIS’ vehicle, returned to the Fiat and left. Investigators followed
DAVIS and an unidentified black male to the apartment complex where
they were observed entering the front door of 2217 Noe Bixby Road.

b. At approximately 2:55 p.m., investigators observed DAVIS exit the front
door of apartment 2217 Noe Bixby with the unidentified black male. Upon
exiting, DAVIS was observed leaving the complex in the black Chrysler
300 (TARGET VEHICLE). Shortly after departing from the apartment
complex, DAVIS arrived at the UDF and eventually met with an
unidentified white male at the rear passenger side of DAVIS’ vehicle.
After a brief amount of time, the white male returned to a white Saturn
ION as the passenger. Investigators observed DAVIS and the Saturn ION
leave the UDF parking lot. DAVIS and the unidentified black male were
observed returning to 2217 Noe Bixby Road utilizing the front door to
gain access to the residence,

c. At approximately 4:28 P.M, investigators observed DAVIS and the
unidentified male exit the front door of 2217 Noe Bixby. Upon exiting,
they were observed leaving the apartment complex in the Chrysler 300
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(TARGET VEHICLE). Investigators followed DAVIS to the UDF where
DAVIS was observed meeting with unknown individual or individuals in a
Nissan Sentra in the parking lot. At this time, DAVIS was observed
leaving the parking lot followed by the Nissan Sentra. Investigators
observed the passenger of the Nissan Sentra to be R.L. Upon leaving the
UDF parking lot, investigators observed the Nissan Sentra leaving in
tandem with DAVIS. Shortly after these observations were made, DAVIS’
vehicle was observed stopped briefly in a nearby neighborhood. Your
affiant knows, through training and experience, it is common for
individuals who traffic narcotics to utilize techniques which involve the
purchaser following the narcotics trafficker to a secondary location. This
allows the narcotics trafficker to attempt to detect potential law
enforcement who may be following the narcotics trafficker, this is
commonly referred to as counter-surveillance.

d. At approximately 4:40 p.m., DAVIS returned to the UDF parking lot.
Shortly after DAVIS’ arrival, investigators observed DAVIS meet with the
driver of a blue Honda. During the interaction, DAVIS was observed
reaching inside the driver’s window of the Honda. Following this
observation DAVIS returned to his vehicle and both DAVIS and the
Honda left the UDF parking lot.

e. At approximately 6:51 p.m., investigators observed DAVIS exit apartment
2217 Noe Bixby Road and leave the apartment complex in the Chrysler
300 (TARGET VEHICLE). Shortly after leaving, DAVIS was observed
arriving in the parking lot of the UDF. Upon DAVIS’ arrival,
investigators observed DAVIS meet briefly with multiple individuals to
include R.L. who was the front seat passenger in a white Mercedes.
During this time, investigators observed DAVIS walk to the white
Mercedes and interact with R.L. for a brief amount of time before leaving
the UDF parking lot.

Your affiant knows, through training and experience, the types of brief encounters

as described being observed on June 13 and 15, 2019, are indicative of drug
trafficking. Furthermore, investigators observed DAVIS leaving the residence,
while operating the Chrysler 300 (TARGET VEHICLE), which is in close
proximity to the UDF meeting location, and engaging in the described type of
activity and quickly returning to the residence is indicative of drug trafficking
activity. Your affiant knows it is common for narcotics traffickers to utilize public
places to meet in order to complete narcotics transactions. At times, these meeting
locations are within close proximity to their residence in order to allow the
trafficker to have quick accessibility to the narcotics in which they sell. This also
prevents the trafficker from possessing the drugs for an extended period of time
which decreases the risk of being detected and interdicted by law enforcement.

On July 3, 2019 investigators conducted surveillance on DAVIS. During
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surveillance, SOI-1 and DAVIS were observed meeting at the Spot Free Car
Wash located at 5466 E. Livingston Avenue in Columbus, Ohio. Prior to arriving
in the area, GPS data transmitting from DAVIS’ Chrysler 300 (TARGET
VEHICLE) revealed DAVIS’ vehicle parked in the apartment complex which
houses 2217 Noe Bixby Road. While on surveillance, SOI-1 was observed
meeting with DAVIS who arrived in the TARGET VEHICLE. Investigators
observed SOI-1 with DAVIS near the trunk of DAVIS’ vehicle prior to leaving
the car wash. After a brief amount of time, SOI-1 and DAVIS departed from the

‘Spot Free Car Wash.

Upon leaving the car wash, uniformed Ohio State Highway Patrol (OSHP}
Sergeant initiated a traffic stop on the vehicle which SOI-1 was operating. The
reason for the traffic stop on SOI-1’s vehicle was due to the vehicle bearing an
expired vehicle registration. During the course of the traffic stop, Whitehall Police
Department Officer Dompier’s certified K-9 partner Summit conducted a free-air
sniff around the exterior of SOJ-1’s vehicle. Upon conducting the sniff, the K-9
had a positive indication for the odor of narcotics emitting from SOI-1’s vehicle.
During the course of the search, law enforcement located approximately 465.5
gross grams of a substance which field tested positive for methamphetamine. Law
enforcement also seized approximately $3,730 which was located inside a locked
box within the trunk of the vehicle. SOI-1 was operating. SOI-1 was transported
to the DEA (Columbus) office to be interviewed.

After being advised of his Miranda Rights, SOI-1 voluntarily informed
investigators he/she met with an individual known as “Juice” to obtain what SOI-
1 believed to be a half pound to a whole pound of methamphetamine. SOI-1 was
later able to positively identify “Juice” as Robert DAVIS utilizing a photograph of
Robert DAVIS. According to SOI-1, DAVIS provided SOI-1 with the suspected
methamphetamine to hold onto, SOI-1 stated that in exchange for holding onto
the drugs and returning them to DAVIS at DAVIS’s request, DAVIS would
provide SOJ-1 with $500.00 and a small amount of drugs. SOI-1 provided
investigators with telephone number 614-679-4009 which is utilized by SOI-1 to
contact DAVIS. Telephone toll analysis between SOJ-1’s telephone number and
614-679-4009. as well as surveillance corroborates information provided by SOI-
1.

On or about July 25, 2019, Ohio State Highway Patrol (OSHP) conducted a traffic
stop on a vehicle which was being operated by an individual identified for
purposes of this affidavit as SOI-2. Prior to the traffic stop DEA observed SOJ-2’s
vehicle arrive and park in the rear of an apartment building which houses DAVIS’
primary residence. After a brief amount of time, members of DEA observed SOI-
2’s vehicle leave the apartment complex. Members of DEA maintained
surveillance on SOJ-2’s vehicle until an Ohio State Highway Patrol Trooper
initiated the traffic stop. Upon making contact with the driver, SOI-2, the Trooper
immediately smelled the aroma of marijuana emitting from the vehicle. SOI-2
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voluntarily uttered to the (OSHP) ‘Trooper that he was in possession of “crystal
meth”. Your affiant knows, through training and experience, the term “crystal
meth” is a slang term for methamphetamine. During the course of a probable
cause search of the vehicle, law enforcement located approximately 369.8 gross
grams of suspected methamphetamine.

After being advised of his Miranda Rights, SOJ-2 voluntarily informed
investigators the drugs, which SOI-2 admitted were methamphetamine, belonged
to an individual known as “Juice.” According to SOI-2, “Juice” had left the drugs
in SOI-2’s vehicle after SOI-2 had dropped “Juice” off at his residence. During
the interview, SOI-2 informed Your affiant that “Juice” lives in an apartment
complex off of Noe Bixby Road, SOI-2 stated “Juice” had asked SOI-2 to take the
drugs to an individual due to “Juice” not being able to meet with the individual.
SOI-2 stated they hadn’t yet agreed to complete the narcotics transaction and
alleged they were going to bring the methamphetamine back to “Juice” who was
located at a YMCA on Karl Road, Although SOI-2 stated they hadn’t yet agreed
to complete the narcotics transaction for “Juice” SOI-2 admitted people would be
expecting both money and the methamphetamine from SOI-2. SOI-2 further
provided investigators with telephone number 614-679-4009 which SOI-2 stated
is utilized by “Juice”. Surveillance and telephone toll analysis between SOI-2’s
telephone number and 614-679-4009 corroborates communication between
DAVIS and SOI-2.

On July 31, 2019, DEA TFO Smith established surveillance in the area of 2217
Noe Bixby Road in Columbus, Ohio. During the surveillance, TFO Smith
observed DAVIS enter the front door of 2217 Noe Bixby Road. Upon leaving the
area, TFO Smith observed a gold Lincoln parked in the rear of 2217 Noe Bixby
Road while DAVIS was still inside the residence. Surveillance was terminated
shortly after DAVIS was observed accessing the residence through the front door.

IV.
COMMON CHARACTERISTICS OF DRUG TRAFFICKERS

Based on my training, education, and experience, as well as training, education
and experience of other law enforcement officers, I know:

a, That drug traffickers often amass significant assets from their illegal drug
trafficking activities.

b. That drugs traffickers often maintain large amounts of U.S. Currency
derived from illegal activities. It is common for individuals to secrete
contraband and conceal proceeds of drug sales and records of drug -
transactions in secure locations such as personal residences or businesses
where they have ready access and control. Often, these locations are used
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to conceal the existence of substantial wealth from law enforcement
authorities.

c. That drug traffickers also attempt to legitimize their profits by converting
it into other assets, such as stocks, bonds, precious metals, jewelry, real
estate, vehicles and other assets. To accomplish these goals, these
individuals utilize false and fictitious business records, nominee
purchasers, foreign and domestic banks, securities, cashiers checks, money
drafts, letters of credit, brokerage houses, real estate shell corporations and
business fronts. These individuals conceal, in their residences, businesses,
safes, safe deposit boxes, storage units and vehicles, currency, cashier’s
checks, money orders and other negotiable instruments, as well as the
records relating to the acquisition, conversion, movement, transfer, and
disbursement of these funds and assets. Additionally, the drug traffickers
themselves usually control access to these areas. Further, it is not
uncommon for narcotics traffickers to "legitimize" their funds through
casinos, documenting their "winnings" in an attempt to show an additional
source of income.

d. That drug smugglers are not unlike other members of society in that they
rely on credit and debit cards to make financial payments. Records
relating to the use of these cards can provide valuable information to the
investigation by establishing, among other things, the amount of money
that is being spent by the suspects, their travel patterns (e.g., using a credit
card to pay for gasoline on a cross-country trip), and may further identify
businesses which are associated with the illegal activities of the suspects.

e. That drug traffickers deal in currency and store currency in conveyances,
homes and at business sites. Furthermore, the Currency Transaction
Report (CTR) (IRS Form 4789) is required to be completed and filed with
the Internal Revenue Service by all financial institutions on every currency
transaction that exceeds $10,000. This requirement causes tremendous
problems for drug traffickers when they attempt to negotiate their illegal
profits at financial institutions because these reports can be made available
to law enforcement officials. It is quite common for individuals who deal
in illegal controlled substances to convert drug proceeds (currency) into
cashiers checks and or money orders in amounts less than $10,000 at
numerous financial institutions over the course of several days in order to
avoid the CTR filing requirement. Furthermore, drug traffickers often
recruit other individuals to convert drug proceed currency for them in
order to avoid handling the currency themselves.

f. That drug traffickers use financial habits designed to minimize and hide a
paper trail, Traffickers often purchase and/or title their assets in fictitious
names, aliases, or in the names of relatives, friends, associates or business
entities to avoid detection of these assets by government agencies,
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especially the Internal Revenue Service. Regardless of documented
ownership, the drug traffickers continue to use these assets and exercise
control over them.

g. That drug traffickers maintain books, records, receipts, notes, ledgers,
bank records, accounting records and other papers relating to the
importation, manufacture, transportation, ordering, sale and distribution of
controlled substances. These ledgers often contain amounts of drugs;
accounting of payments made and received, accounts receivable and
accounts payable used in furtherance of their drug trafficking activities.
These individuals commonly "front" (provide illegal controlled substances
on consignment) illegal controlled substances to their clients and thus keep
some type of record concerning moneys owed. Drug traffickers often
maintain phone books, address books and other papers containing names,
telephone numbers, and addresses of suppliers and purchasers of
controlled substances. The names and numbers are often written in a code
that requires drug traffickers to keep a key to their particular code.

h. The aforementioned books, records, receipts, notes, ledgers, codes, etc.,
are usually maintained in a secure location where dealers in illegal
controlled substances have ready access to them such as on their person,
vehicle, business, safe deposit box, home safe, personal or business
computer, storage facility or in other residences or businesses where they
periodically reside or have access and control.

i, It is not uncommon for individuals who deal in illegal controlled
substances to take, or cause to be taken, photographs of themselves, their
associates, their property and their illegal product. These individuals
usually maintain these photographs in their possession or in residences
where they reside or have access and control.

j. That drug traffickers commonly use cellular telephones to coordinate
various narcotics trafficking activities. Several traffickers that I
interviewed were under the false impression that it was impossible for law
enforcement to wiretap cellular telephones. Other traffickers, in order to
-avoid speaking on telephones, use numeric codes on digital pagers to
communicate with co-conspirators.

k. That drug traffickers often engage in domestic and/or international travel
in relation to the smuggling of illegal contraband. Analysis of travel
records and documents can assist in the development of the investigation
by revealing potential source and/or destination locations related to the
distribution of illegal narcotics or the payment of related proceeds.

Persons who traffic in controlled substances are not unlike any other
individual in our society in that they maintain documents and records.

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26.

27.

These documents and records will normally be retained for long periods
regardless of whether their value to the individual has diminished. Often.
times, this type of evidence is generated, maintained and subsequently
forgotten about. Hence, documents that one would normally think a
prudent person would destroy because of their incriminating nature are
still possessed months or even years after they come into the possession of
a drug trafficker. Often times these individuals do not even realize the
incriminating nature of the documents they keep.

Based upon Your affiant's knowledge, training and experience, and the experience
of other law enforcement personnel, I am aware that persons who traffic in
controlled substances commonly utilize vehicles to transport, store and conceal
controlled substances and or currency which is derived from drug trafficking. It is
common for narcotics traffickers to utilize hidden compartments within their
vehicle to store said illegal narcotics and or proceeds from narcotics trafficking in
order to prevent detection and interdiction from law enforcement.

Vv.
CONCLUSION

Based on the facts set forth in the Affidavit, Your Affiant believes there is
probable cause to believe that evidence of a crime; contraband, fruits of crime, or
other items illegally possessed; and property designed for use, intended for use, or
used in committing a crime and associated with the above listed drug trafficking
offenses is located inside the TARGET LOCATION and TARGET VEHICLE.
WHEREFORE, based on the foregoing evidence of drug trafficking, I respectfully
request that the Court issue a search warrant and sealing order for the locations
described in Attachment A and the property described in Attachment B.
Investigators request that this warrant be SEALED.

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Task Force Officer

Drug Enforcement Administration

Subscribed and sworn to before me
this 7/ of August, 2019

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NORAH MCCANN G
United States MagiStrate Judge

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